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                       1IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                 Case No.: 1:19-CR-00018-ABJ


UNITED STATES OF AMERICA,

               Plaintiff,

v.

ROGER J. STONE, JR.,

            Defendant.
______________________________/

                            MOTION FOR PERMISSION TO TRAVEL

       Defendant, Roger J. Stone, Jr., files this Motion for Permission to Travel to the United

States District Court for the Middle District of Florida, specifically to Green Cove Springs, Florida

on August 20, 2019 and to Belleview, Florida, on August 21, 2019, for business opportunities.

       Counsel has communicated with Mr. Stone’s Pretrial Services Officer who has stated

Pretrial Services has no objection to the filing of this motion and requested their office be kept

advised of the Court’s ruling. Mr. Stone has provided Pretrial Services with the requested detailed

documentation and will contact his Officer upon his return. The Government has been has also

been contacted and has no objection to the relief sought.

        Mr. Stone respectfully requests that this Court grant this motion for permission to travel

and allow Mr. Stone to travel to the the Middle District of Florida during the dates outlined above.




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Respectfully submitted,
By: /s/_______________

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                                CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on July 23, 2019, I electronically filed the foregoing with the

Clerk of Court using CM/ECF. I also certify that the foregoing is being served this day on all

counsel of record or pro se parties, via transmission of Notices of Electronic Filing generated by

CM/ECF.



                                               ___/s/ Chandler Routman _______________
                                                      CHANDLER P. ROUTMAN

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